   Case 3:12-cr-00478-CCC       Document 53      Filed 12/10/12   Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 12-0478CCC
 1) LUIS AGOSTO-DE JESUS
 2) ELIAS M. QUIÑONES-HERNANDEZ
 Defendants


                                         ORDER

       Having considered the Report and Recommendation filed on November 16, 2012
(docket entry 48) on a Rule 11 proceeding of defendant Luis Agosto-de Jesús (1) held
before U.S. Magistrate Judge Bruce J. McGiverin on November 7, 2012, to which no
objection has been filed, the same is APPROVED. Accordingly, the plea of guilty of
defendant is accepted. The Court FINDS that his plea was voluntary and intelligently
entered with awareness of his rights and the consequences of pleading guilty and contains
all elements of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since November 7, 2012.        The sentencing hearing is set for
February 12, 2013 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on December 10, 2012.



                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
